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                      IN THE UNITED STATES DISTRICT COURT            ie i u a. ~ ~Lrm~
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DMSION                       IfI .a 2 2 :_,J :IW
                                                                      CLERK, U.S. OIST:::v T COURT
                                              )                             RICHMOND, VA
       UNITED STATES OF AMERICA, ex rel.,     )
       STATE OF NORTH CAROLINA, ex rel., AND )
       COMMONWEALTH OF VIRGINIA ex rel,       )         Civil Action No.:
                                             )
       JACQUELYNE GRISWOLD                   )
       7465 Ambrose Drive                    )          Complaint
       Mechanicsville, VA 23111              )          Filed Under Seal
                                             )          Pursuant to
       DEBORAH OLEXY                         )          31u.s.c.§3730(b)(2)
       894 Dogwood Dell Lane                 )
       Midlothian, VA 23113                  )          Jury Trial Demanded
                                             )
       JULIE WARREN                          )
       15606 Chesdin Point Drive             )
       Chesterfield, VA 23838                )
                                             )
       BRINGING THIS ACTION ON BEHALF        )
       OF THE UNITED STATES OF AMERICA AND )
       THE STATE OF NORTH CAROLINA AND       )
       THE COMMONWEALTH OF VIRGINIA          )
                                             )
       CIVIL-PROCESS CLERK                   )
       UNITED STATES ATTORNEY                )
       600 East Main Street                  )
       Richmond, VA, 23219                   )
                                             )
       ATTORNEY GENERAL OF                   )
       THE UNITED STATES                     )
       U.S. Department of Justice            )
       950 Pennsylvania Ave, N.W.            )
       Washington, DC 20530                  )
                                             )
       ATTORNEY GENERAL FOR THE STATE OF )
       NORTH CAROLINA                        )
       9001 Mail Service Center              )
       Raleigh, NC 27699                     )
                                             )
       ATTORNEY GENERAL FOR THE              )
       COMMONWEALTH OF VIRGINIA              )
       900 East Main Street                  )
       Richmond, VA 23219                    )



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V.



HEARTLAND HOSPICE SERVICES, LLC
1504 Santa Rosa Road
Suite 114
Richmond, VA 23229

HEARTLAND HOSPICE OF NEWPORT NEWS
11835 Fishing Point Drive, #202
Newport News, VA 23606

IN HOME HEALTH LLC,
c/o CT CORPRATION SYSTEM
4701 Cox Road, Suite 285
Glenn Allen, VA 23060

HEARTLAND HOSPICE SERVICES, LLC
c/o CT CORPRATION SYSTEM
4701 Cox Road, Suite 285
Glenn Allen VA 23060

HCR MANORCARE MEDICAL SERVICES
OF FLORIDA, LLC.
c/o CT CORPRATION SYSTEM
4701 Cox Road, Suite 285
Glenn Allen, VA 23060

MANORCARE HEALTH SERVICES-IMPERIAL
1719 Bellevue Ave
Richmond, VA 23277

HCR MANORCARE
333 N. Summit Street
Toledo, OH 43699

CARLYLE GROUP
1001 Pennsylvania Avenue, NW
Washington, DC 20004

ELM CROFT OF CHESTERFIELD
1000 Twinridge Lane
Richmond, VA 23235

ELM CROFT
9510 Ormsby Station Road
Louisville, KY 40223
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ENVOY OF STRATFORD HILLS
7246 Forest Hill Avenue
Richmond, VA 23226

CONSULATE HEALTH CARE, LLC
800 Concourse Parkvi^ay
S. Suite 200 Maitland, FL 32751

DEFENDANTS.




                                     COMPLAINT


This is an action filed under the qui tarn provisions of the Federal False Claims Act, 31

U.S.C. Sec. 3729, et seq., the North Carolina False Claims Act N.C. Gen. Stat. §§1-605 et

seq,, and the Virginia Fraud Against Taxpayers Act VA. Code Ann, §§8.01-216.1 et seq.

by Plaintiff-Relators Jacquelyne Griswold, Deborah Olexy and Julie Warren, in the name

of the United States, North Carolina, Virginia and themselves to recover penalties and

damages arising from illegal activities conducted by the Defendants. The Defendants

defrauded the United States, North Carolina and Virginia through the illegal admission of

patients to hospice and home health care and regular abuse of the admission and billing

procedures for those services, including the use of kickbacks and falsified documentation

to obtain fimds through false claims submitted to government programs.

                            JURISDICTION AND VENUE

       1.      This action arises under the Federal False Claims Act, 31 U.S.C. §§ 3729,

et seq. (2012) (the "False Claims Act").

       2.      Plaintiff-Relator also brings this action on behalf of the government of

North Carolina for the Defendants' violations of N.C. Gen. Stat. §§1-605 et seq., and the

government of Virginia for violations of VA. Code Ann. §§8.01-216.1 et seq.
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        3.     The False Claims Act confers national jurisdiction on the district courts.

This Court maintains subject matter jurisdiction over this action pursuant to 31 U.S.C. §

3732(a) and 28 U.S.C. § 1331, and supplemental and pendant jurisdiction over the state

law claims herein.


        4.     This Court has jurisdiction over the North Carolina False Claims Act and

Virginia Fraud Against the Taxpayers Act claims under 31 U.S.C. § 3732(b) in that the

transactions and or occurrences described herein, which violate the North Carolina and

Virginia laws involve a common nucleus of facts as, and are related to, those that violate

the Federal False Claims Act.


        5.     Venue is proper in this Court pursuant to 31 U.S.C. § 3732(a) because the

Defendants regularly transact business in this District and did so at all times relevant to

this Complaint. Furthermore, many of the facts proffered in support of these allegations

took place within this District. In addition, at least one Defendant has offices in this

District.


        6.     There has been no public disclosure of the allegations contained in this

Complaint.

        7.     Plaintiff-Relators Jacquelyne Griswold, Deborah Olexy and Julie Warren

are each an original source of all information contained in this Complaint within the

meaning of 31 U.S.C. § 3730(e)(4)(B) as well as North Carolina and Virginia law. Ms.

Griswold, Ms. Olexy and Ms. Warren each have direct and independent knowledge of the

information contained herein. They voluntarily served a copy of a disclosure statement

and substantially all of the information and documents on which the Plaintiff-Relators

base their allegations on the governments of the State of North Carolina, the
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Commonwealth of Virginia and the United States pursuant to 31 U.S.C. § 3729(2)(b), 31

U.S.C. § 3730(e)(4), and related provisions of the North Carolina False Claims Act and

the Virginia Fraud AgainstTaxpayers Act prior to filing this civil action.

                                 PARTIES INVOLVED


       8.      The allegations contained in the paragraphs above are hereby re-alleged

and set forth fully as above.

       9.      Plaintiff-Relators Jacquelyne Griswold, Deborah Paul Olexy, and Julie

Warren are each nurses with many years of experience in the field of hospice and home

care. They met while working in Defendant Heartland's Richmond, Virginia office and

providing hospice care. All three Plaintiff-Relators have experience providing hospice

care through the Richmond, Virginia Heartland office. After observing Heartland's

practices first-hand, the three Plaintiff-Relators each independently came to the
conclusion that Heartland's policies and decisions were dictated by a concern for

maximizing profits at theexpense of quality of care and concern for patients.

        10.    Plaintiff-Relator Jacquelyne Griswold worked for Heartland in Newport

News, Virginia in 2009-2010 and in Richmond from 2011 through 2013.

        11.     Plaintiff-Relator Julie Warren worked at the Heartland Richmond office

from May 2012 to November 2013.

        12.     Plaintiff-Relator Deborah Olexy worked for Heartland in Raleigh, North

Carolina as Branch Administrator for home health care from November 2012 to February

2013. From there, she transferred to the Richmond, Virginia office and served as a Case

Manager and Team Leader for hospice care. During the the majority of the time she was
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employed by Heartland, she was known as Deb Jones. Through marriage, her surname is

now Olexy. She also previously worked for the company in Houston, Texas.

       13.     Defendant Heartland Hospice Services, LLC ("Heartland") 1504 Santa

Rosa Road, Suite 114, Richmond, VA 23229 is a hospice provider serving Richmond and

the surrounding area.

       14.     Defendant Heartland of Newport News has offices at 11835 Fishing Point

Drive, #202, Newport News, VA 23606.

       15.    Defendant Heartland had home care offices at 4505 Falls of Neuse Road,

Suite 650, Raleigh, NC 27609.

       16.     Defendant Heartland lists several entities as part of "Heartland" in public

advertising information including: In Home Health, LLC; Heartland Hospice Services,

LLC; HCR Manor Care Services of Florida, Inc.; HCR ManorCare Services of Florida II,

Inc.; HCR Manor Care Services of Florida III, Inc. All Heartland Defendants hereinafter

referred to collectively as "Heartland" and are "part of the HCR ManorCare family,"

according to website information. The company delivers hospice care, home care, skilled

nursing memory care, and post-acute care in 25 states.

       17.     Defendant ManorCare Health Services-Imperial is located at 1719

Bellevue Ave, Richmond VA. HCR ManorCare also owns this facility.

       18.     The parent company of Heartland, HCR ManorCare is a privately held

company since 2007 and has more than 55,000 employees in the United States according

to its website. The company maintains headquarters at 333 N. Summit Street, Toledo,

Ohio 43699. According to the HCR ManorCare corporate website the company was
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purchased by the Carlyle Group in December of 2007 and at that time ceased trading or

issuing stock.

         19.     Defendant the Carlyle Group of 1001 Pennsylvania Avenue, NW

Washington, DC 20004 is a publically traded partnership on the NASDAQ exchange that

describes itself as a global alternative asset manager. It owns HCR ManorCare.

         20.     Defendant Elm Croft of Chesterfield ("Elm Croft") is an assisted living

facility located at 1000 Twinridge Lane Richmond, Vu-ginia 23235. It is part of the Elm

Croft      organization         which   has     102     senior     care     communities,

including 79 assisted living communities, four multilevel retirement communities, and 19

health and rehabilitation centers serving over 6,000 residents in 19 states. The company

has headquartersat 9510 Ormsby Station Road, Louisville, KT, 40223.

         21.     Defendant Envoy of Stratford Hills is located at 7246 Forest Hill Avenue,

Riclimond, VA 23226 and is an assisted living facility with 196 beds. It is owned by

Consulate Health Care, LLC of 800 Concourse Parkway, S. Suite 200 Maitland, FL

32751.


                                 FACTUAL ALLEGATIONS

1. Summary of fraudulent activity conducted by Heartland and related Defendants.

         22.     The allegations contained in the paragraphs above are hereby re-alleged

and set forth fully as above.

         23.     Each of the three Plaintiff-Relators has worked as a hospice nurse for

Heartland. Relator Olexy also worked for Heartland as a home health care services

administrator.
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        24.     Through their experiences, each Plaintiff-Relator learned that marketing

concerns and profits motivated Heartland's decisions, often at the expense of quality of

patient care.

        25.     Heartland's standard practice was to admit patients for services for which

they did not qualify. CMS regulations require patients to meet certain criteria in order to

qualify for home health care or hospice services.

        26.     For example, Alzheimer's patients generally must not be ambulatory in

order to qualify for hospice care under CMS regulations. Despite that requirement.

Heartland would regularly admit ambulatory Alzheimer's patients and order nursing staff

to falsify their observations thereof.

        27.     Furthermore, Heartland would admit patients to home health care without

a plan of care and keep them admitted without face-to-face docimientation.            Such

documentation was routinely falsified. Face-to-face documents were filled out by non-

medical personnel and signed priorto any meeting with the patient. Documents were also

signedby doctors who had no responsibility for the home healthcare patient.

        28.     Heartland patients were also admitted to hospice through the use of a

kickback scheme.


        29.     The kickbacks did not involve cash. Instead, Heartland officials would

provide free labor to healthcare institutions that needed additional care for patients that

were ill but did not yet qualify for hospice care. Grateful nurses who were charged with

caring for patients at those facilities accepted the tabor and in exchange referred patients

to Heartland for hospice care once they were too sick for normal care.
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       30.     As a result of false admissions to hospice care and home health care,

medical services were provided to patients who were ineligible for such services.

       31.     Patients received durable medical equipment and were hospitalized for

inpatient careas hospice patients. Such wrongful admissions and false documentation led

to increased payments under the Medicare and Medicaidprograms.

       32.     The patients were admitted and retained for such services in large part

because marketing and administrative staff received bonuses based upon the number of

cases referred to hospice and home health care.

       33.     The bonuses created incentives to admit and retain patients who should

not have been admitted. As a result, patients regularly received unnecessary and in some

cases, harmful, services.

       34.     The aforementioned staff who receive bonuses pressured the Plaintiff-

Relators to falsely document, admit, and retainunqualified patients at all times.

       35.     There is a significant difference between the medical issues prevalent in

many elderly patients and the serious issues that qualify a patient for home health care

and/orthose issues so devastating that they necessitate palliative hospice care.

       36.     Those differences are defined by CMS regulations, but, essentially, the

severity of illnessdictates the appropriate treatment for a patient.

       37.     For example, only patients that are within six months of death qualify for

hospice care. Heartland's pattern and practice was to ignore the aforementioned

regulations in order to maximize profits, thereby harming patients.

        38.    The worst consequence of Heartland's practices was the denial of needed

curative care to patients who were wrongly admitted to hospice care.




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       39.    Hospice care, by definition, does not include curative care. Patients are

administered only medicines that lessen suffering. Accordingly, any unqualified patients

that were admitted to hospice care necessarily suffered harm as a resuh of Heartland's

business decisions because they failed to receive the curative care that was necessary to

improve their medical conditions.

       40.    All three Plaintiff-Relators found that Heartland admitted and retained

patients who were not eligible and should not have been eligible for hospice care. They

encountered patients who could not possiblyhave met the standardsfor hospice.

       41.    The Plaintiff-Relators encountered evidence of, but not limited to, the

following illegal practices conducted on a widespread multiple-facility basis by

Heartland:



       a. Admitting and keeping patients for hospice care who did not meet eligibility
       requirements;

       b. Recertifying hospice patients who do not meet eligibility requirements;

       c. Knowingly using falsified nursing documents to maintain patient services for
       hospice care. This included wrongfully obtaining services such as hospitalization
       and material such as durable medical equipment for inpatient hospice care;

       d. Obtaining from physicians Home Health Care face-to-face encounter
       documents, which did not meet certification and plan of care requirements;

       e. Having Heartland employees, including marketing staff, fill out face-to-face
       encounter documents rather than physicians or the physicians agents doing so;

       f. Providing services for patients in nursing facilities over and above normal
       practices as illegal kickbacks to obtain patient referrals;

       g. Providing certain services such as physical therapy to patients who should have
       been put on Hospice and therefore would not have been in need of or eligible for
       such services;

       h. Putting pressure on nurses to change or falsify the patient's true condition, and



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       i. "Up coding" charges for home health care patients.

2. Defendants' Hospice care practices creating false claims.

A. False admission and retention of patients through Heartland's Richmond,
Newport News, Virginia and other offices.

       42.     The allegations contained in the paragraphs above are hereby re-alleged

and set forth fully as above.

       43.     Under Medicare, hospice care is available to terminally ill individuals for

two initial 90-day periods, and then for an unlimited number of 60-day periods, as long as

certain conditions are met. See, e.g.. Medicare Benefit Policy Manual Ch. 9 §§ 10,20.1.

       44.     In orderto be eligible to elect hospice care under Medicare, an individual

must be entitled to Part A of Medicare and also be certified as terminally ill in accordance

with42 C.F.R § 418.22. See also 42 U.S.C. § 1395 f (7XA); 42 C.F.R § 418.20.

       45.     According to 42 C.F.R § 418.3, "terminally ill" is defined as a person who

"has a medical prognosis that his or her life expectancy is 6 months or less if the illness
runs its normal course." Generally, in order to be eligible for hospice care under

Medicaid, an individual must be determined to be eligible for Medicaid and certified as

terminally ill underthe samestandards as underMedicare.

        46.     In the Plaintiff-Realtors' experience, Heartland admitted and retained

patients in hospice care who simply did not qualify for such care. The company provided

numerous materials to help nurses determine how to admit patients. These documents

include a booklet called the "Heartland Hospice Admission Guidebook," which provides

information about how to admit a patient to such care.




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       47.     The Guidebook includes references to exactly the kind of medical charts

and requirements expected of a hospice provider. The Guidebook makes clear that a

nurse or RN conducts an initial assessment, which "identifies the patient's eligibility for

hospice care and services and is an evaluation of the patient's physical, psychosocial,
emotional and spiritual status related to the terminal illness." See Heartland Hospice
Admission Guidebook, page 11.

       48.     The Guidebook also notes that, "A thorough initial assessment supports

eligibility and stands as a baseline for future determination of ongoing eligibility and a
reference for patient decline." The Guidebook directs the use of Kamofsky palliative
Performance Scale (PPS), Functional Assessment Staging Tool (FAST) New York
Heart/Assessment (NYHA), Basal Metabolic Index, and other scales to provide

additional supporting data. The Guidebook notes that Local Coverage Determinations
(LCD's) are tools to use as a guide for determination of eligibility and are used by the
fiscal intermediary when determining payment.           See Heartland Hospice Admission

Guidebook, page 11.

       49.     The Plaintiff-Relators were all directed to document patients who were not

within six months of death as if they met the requirement, which they did not. Each

Plaintiff-Relation refused to alter her observations.

        50.    One common example of these practices involved patients who suffer

from Alzheimer's disease. Such a patient, generally, must also not be ambulatory to

qualify for hospice care. An Alzheimer's diagnosis requires relatively more serious

additional conditions to qualify for hospice care than a physical disease such as cancer




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because a patient can survive for a long period of time when they suffer from

Alzheimer's disease, despite his or her mental decline.

       51.     The progression of Alzeheimer's is slow Therefore, the general

requirement that a patient have a life expectancy of six months or less is usually not met

on an initial diagnosis of Alzheimer's.

       52.     Indeed, the Local Coverage Determination Hospice Determining Terminal

Status (L32015) states:


       Section II: Non-Cancer Diagnosis

       B. Dementia due to Alzheimer's Disease and Related Disorders
       Patients will be considered to be in the terminal stage of dementia (life
       expectancy of sixmonths or less) if they meet the following criteria. Patients with
       dementia should show all the following characteristics:

       1. Stage seven or beyond according to theFunctional Assessment Staging Scale;
       2. Unable to ambulate without assistance;
       3. Unable to dress without assistance;
       4. Unable to bathe without assistance;
       5. Urinary and fecal incontinence, intermittent or constant;
       6. No consistently meaningful verbal communication: stereotypical phrases only
       or the ability to speak is limited to six or fewer intelligible words.

       Patients should have had one of the following within the past 12 months:
       1. Aspiration pneumonia;
       2. Pyelonephritis or other upper urinary tract infection;
       3. Septicemia;
       4. Decubitus ulcers, multiple, stage 3-4;
       5. Fever, recurrent after antibiotics;
       6. Inability to maintain sufficient fluid and calorieintakewith 10%weightloss
       duringthe previous six months or serum albumin <2.5 gm/dl.

       Note: This section is specific for Alzheimer's Disease and related disorders, and
       is not appropriate for other types of dementia, such as multi-infarct dementia.

LocalCoverage Determination (L32015) for Hospice care and Alzheimer's disease.




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       53.     It is clear to the Plaintiff-Relators that a patient with an Alzheuner's

disease diagnosis should not qualify for hospice care if the patient was in fact ambulatory

and has no other serious condition or disease that independently qualifies the patient for

hospice.

       54.     This was also clear to the Heartland managers. They therefore put pressure

on the Plaintiff-Relators not to document ambulatory Alzheimer's patients as such. The

marketers and management knew that such documentation would make it difficult to

admit a patient and keep a patient on the service. The Defendants pressured the Plaintiff-

Relators to label such patients as "not being ambulatory."

       55.     That finding would make it easier to justify admittance for Alzheimer's

patients to hospice care and keep them on hospice care. Specifically, the Relators were

told by mangers that they could say that somebody was not ambulatory because the

patient had Alzheimer's disease and that being ambulatory had something to do with

cognition.

       56.     Plaintiff-Relator Griswold specifically objected to management about this

rationale and noted that being physically ambulatory had nothing to do with cognition

itself. All the Plaintiff-Relators had their observations overruled by management when

they did not agree to admit a hospice patient.

       57.     Alzheimer's diagnoses were not the only kind of case about which the

Plaintiff-Relators and management disagreed about admission criteria. In fact, the

Plaintiff-Relators often diagnosed patients as inadmissible to hospice and management

took action to admit patients despite the findings ofthese nurses.




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       58.     Heartland put managers on a bonus system that created incentives for

managers to put pressure on the professionals to admit and recertify patients into hospice

care. Administrator Marroletti and Regional Director Daignault were both compensated

with this sort of bonus plan.

       59.     Bonuses were based on revenue and the number of patients in the hospice

care. They created an incentive for the staff to admit patients to hospice care whether or

not such care was appropriate.

       60.     As a result, the administrators put undue pressure on nurses to admit

patients. For example. Heartland assigned Janelle Stanley, a regional hospice consultant

to go on patient visits with Ms. Olexy after she failed to comply with management's

directives to falsify patient observations.

       61.     In Ms. Olexy's presence, Ms. Stanley invented conditions to justify care.

Relator Olexy was also told by Kevin DaignauU, the Regional Director of Operations for

Virginia, "you will admit who we tell you."

       62.      When Plaintiff-Relator Warren would not admit a patient pursuant to

appropriate criteria for hospice care, the administrators sent out another nurse to review

the case so that the patient would be admitted.

        63.     Generally, the administrators would send Nurse Whitney Braxton to meet

the patient shortly after Plaintiff-Relator Warren and she would admit the patient to

hospice.

        64.     Ms. Braxton had a reputation for admitting anyone she was asked to

admit. Plaintiff-Relator Warren also observed an instance when Ms. Braxton filled out

visit paperwork, but had not actually visited the patient, which the patient's family



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noticed. Nonetheless, Ms. Braxton was assigned to admit additional patients to hospice

care and was sent out to contradict Ms. Warren's assessments.


       65.     When Plaintiff-Relator Griswold would decline to admit a patient,

Richmond Administrator Lynda Marroletti or Stella Feldman, the Director of

Professional Services, would generally assign Nurse Jonathan O'Brien to admit the

patient into hospice care.

       66.     When Debora Olexy moved to Richmond, Virginia she became a hospice

Case Manager. Ms. Olexy was told by Administrator Marroletti not to document any

patient making progress toward recovery.

       67.     This directive was continually reinforced by Director Feldman, who

mandated that the nurses document progression toward end of life, even in circumstances

where patients were showing signs of recovery. Any progression toward good health

would have made the continuing certification of hospice care easily falsifiable and

therefore difficult to maintain. Director Feldman reviewed all nurse's patient notes.

        68.    The Defendants also had a pecuniary interest in suppressing

documentation of recovery.

        69.    Patients who display signs of recovery are generally ineligible for hospice

care. Therefore, improving patients are transferred to hospitals and other settings where
they can receive treatment unavailable at Heartland facilities. Heartland falsified records

in order to maintain what they viewedas revenue streams- sick patients.

        70.    To that end, Relator Olexy was asked into the office and taught how to

document improving patients in a manner that suggested they were actually progressing

towards death. The Plaintiff-Relators were instructed not to document improvements in




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patient healtli. Documenting decline was what Heartland dictated even if the patient was

not an appropriate recipient of hospice care.

        71.     Each of the Plaintiff-Relators received continual pressiure from Heartland

management to document decline, admit ambulatory Alzheimer's patients and generally

admit patients against theirjudgment. Such interference with nurses documenting their

observations, attempts to find other documents, and rewriting documents for admission is

not only wrong, it creates false records regarding a claim for payment as well.

        72.     Each Plaintiff-Relator has specific cases they remember vividly because

they learned of patients who were admitted against their observations - patients who

were denied needed medical care as a resuh of Defendants' greed.

        73.     They found information on one hospice patient who received Bowel

surgery at least two months after admission to hospice. As such, he should have been

ineligible for Bowel surgery under CMS regulations. Furthermore, in the Plaintiff-

Relators' training and experience, such a procedure would generally kill a hospice patient

who truly was within six months of death.

        74.     To be eligible for Bowel surgery, this patient hadto have beenremoved or

discharged fi*om hospice care. Later documentation shows that he was returned to hospice

care after the surgery. As of June 2013, his medical problems are plentiful, but the notes

to his case also state:

        "No longer doing yardwork x 3mo..."
        "Pt. continues to care for self-going out to restaurants to eat..."

        75.     The documentation indicates the patient was able to go out to restaurants

to eat five months after being admitted to hospice and three months after an operation.




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which, if the initial admission to hospice care had been legitimate, would have killed the

patient. The same patient received recertification after that time aswell.
       76.     In his case, the patient was lucky to have the needed operation. Some

patients were improperly placed on hospice care and never discharged to curative care,
making them ineligible for lifesaving medicines and procedures.

       77.     Both Plaintiff-Relator Julie Warren and Jacquelyne Griswold met a patient

who was still alive in January of 2015 after being admitted to Hospice in 2013. Neither
Warren nor Griswold thought the patient should have been eligible for hospice originally
in 2013.


       78.     The Plaintiflf-Relators also learned about a patient who was prescribed

pain medication solely so he could be put on hospice care. The narcotic pain medication
helped to justify the hospice care, but the patient was not in severe pain and did not need
a heavy narcotic.

        79.    The practice of wrongfully admitting patients on the basis of false
documentation and falsely stated patient conditions was also specifically an issue for
Relator Jacquelyne Griswold during her tenure atNewport News, Virginia and to the best
of her knowledge continues at Heartland's facility there.

B. Kickbacks paid for hospice referrals in the form of free labor.

        80.    The allegations contained in the paragraphs above are hereby re-alleged
and set forth fully as above.

        81.     In addition to falsely documenting, admitting, and retaining hospice
patients, the Relators also discovered schemes through the Richmond, Virginia Heartland
office by which Heartland paidkickbacks for referrals to hospice care.



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       82.     Any such action is a violation of the Anti-Kickback Statute ("AKS"). The

AKS specifically prohibits the giving of any inducement to obtain referrals and the

acceptance of any inducement in exchange for such referrals. Such a violation of the

AKS also creates a false claim imder the False Claims Act. See 42 U.S. Code § 1320a-7b

et. seq. The AKS makes clear that any such illegal remuneration can be "in cash or in

kind." 42 U.S. Code § 1320a-7b(b)(l)-(2).

       83.     The scheme used by Heartland in Richmond, Virginia to obtain patient

referrals provided illegal remuneration and an inducement in the form of free labor.

Heartland provided a free nurse's aide to Envoy and Imperial Plaza nursing homes in

exchange for referrals to Heartland for hospice care.

       84.     The nursing homes profited from the free labor and Heartland knew the

relatively cheap investment was well worth the regular stream of elderly patients who,

like mostnursing home residents, eventually needed hospice care.

       85.     Envoy and Imperial did not have to hire additional staff to obtain

additional bathing services or assign current staff to provide such services for their

patients. Both Envoy and Imperial Plaza's nurses were grateful for the aid the Richmond

Heartland office arranged for their patients.

       86.     Those nurses would then refer potential hospice cases back to Heartland.

Administrator Morraletti preserved these relationships and made sure that they created

additional referrals for the Richmond hospice office.

       87.     Both Imperial Plaza and Envoy would only suggest Heartland for hospice

care services providmg no alternative suggestions to their patients.




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        88.      In addition to accepting additional services for referrals, the Elm Croft

facility in Richmond, Virginia was given an additional inducement to refer patients to

Heartland. Elm Crofl not only accepted additional services from Heartland for referrals,

but also evaded requirements to discharge some of the patients in their care by having

Heartland admit those patients into additional hospice care.

        89.      Elm Crofl; is an assisted living facility. It is not a skilled nursing facility.

Certain diagnoses are not appropriate for such a facility. If, for example, a patient

develops incontinence, the patient is generally supposed to be transferred to a higher

skilled care facility.

        90.      However, if the patient is admitted to hospice care that patient can receive

additional care at Elm Croft rather than be transferred and Elm Crofl retains the patient to

bill for its services.


        91.      To refer a patient for hospice legitimately, the staff at Elm Crofl is also

supposed to providemore than one recommendation of a hospice provider.

        92.      Elm Crofl would only work with Heartland providing a referral source to

Heartland so that Heartland would admit the patient on hospice care and keep the patient

in Elm Croft for Elm Crofl's benefit.


3. Home Health care services practices that created false claims.

A. Home health care documentation obtained or created falsely.

        93.      The allegations contained in the paragraphs above are hereby re-alleged

and set forth fully as above.




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        94.      Relator Olexy was the Director of Home Health in Raleigh, North

Carolina and found many issues regarding wrongful admission and re-certification dating

from before she worked there.


        95.      Plaintiff-Relator Olexy not only believes the issues she discovered pre

dated her work in Raleigh, she has evidence that such wrongful admissions and

certifications were routine in at least two other Heartland facilities. The marketing staff in

Raleigh, like the marketing staff in Richmond, was paid on a bonus system for both

hospice and home health care admissions.

       96.       In North Carolina, part of Plaintiff-Relator Deborah Olexy's job included

participation on a conference call every morning to determine why people did not get

admitted to home health care. Each order to admit was worth thousands, potentially

hundreds of thousands, of dollars to the company so there was a great deal of pressure to

admit such patients.

        97.      There was constant pressure to admit more patients. Deb Arendale, the

Regional Vice President, and Susan Keitt regularly were on such calls with Plaintiff-

Relator Olexy.

        98.      Plaintiff-Relator Olexy discovered that pressure to admit patients reached

the marketing department and as a result they engaged in wrongful activity to admit

patients as well.

        99.      For example, marketing staff would obtain admission signatures firom the

hospice care doctor who was not the doctor supervising the service for these patients.

        100.     It is also clear from her experience that the Raleigh, North Carolina office

was engaged m similar practices as the Richmond, Virginia office with regard to




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wrongful admission of patients to hospice care. Indeed, she also reported to management

that, "marketing staff had been writing orders for palliative care." Statement of "Deb

Jones" Olexy signed February 25,2013.

       101.    Plaintiff-Relator Olexy's direct concern was the wrongfiil admission and

retention of patients into the home health care program. She protested these actions

vigorously. Plaintiff-Relator Olexy noted that Dr. Marsh, the Director of Hospice Care,

had no involvement in home health care case conferences.

       102.    Therefore, Heartland should not have been asking him to sign forms to

certify admission for home health care. Indeed, the form itself makes such a certification

by Dr. Marsh false on its face.

       103.    Form 485, which is the form used to certify initial eligibility has blocks for

the attending physician to sign includes the following statement:


       I certify/recertify that this patient is confined to his/her home and needs
       intermittent skilled nursing care, physical therapy and/or speech therapy or
       continues to need occupational therapy. The patient is under my care, and I have
       authorized the serviceson this plan of care and will periodically review the plan.

       Anyone who misrepresents, falsifies, or conceals essential information required
       for payment of Federal funds may be subject to fine, imprisonment, or civil
       penalty under applicable Federal laws.

Form 485 and CMS instructions. Note blocks 26 and 28 appear next to the Attending

Physician's signature block.

       104.    Dr. Marsh, as the hospice care Medical Director, had no involvement with

home health care patients.




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        105.    The patients were not under Dr. Marsh's care. When Heartland's

marketing staffcould not get an appropriate doctor to signadmittance to home care they

would have Dr. Marsh sign such a form.

        106.    Dr. Marsh's signature on the form did not justify admission to home

health care and, more importantly, Heartland management knew this and was required to
know it based on regulations.

        107.    Dr. Marsh was not a doctor who actually cared for the home health care

patient or would be caring for the patient in the future. He was not in a position to sign
offon a plan ofcare asrequired. Marketing people directed him to sign and he was paid
for doing so.

        108.      Home healthcare admission also requires a certification that a face-to-face

examination within 90 days (60 days prior to admission or 30 days after admission) has

been conducted by a medical professional. That document isalso supposed tobecertified
by a physician.

        109.      Plaintiff-Relator Olexy discovered Pam Poole, who was not a nurse but

was employed by Heartland as marketing official, was writing face-to-face documents for
the facility.

        110.      In her email to Susan Keitt Regional Director of Operations Plaintiff-

Relator Olexy wrote:

        Susan again yesterday we received f2f FILLED OUT ENTIRELY BY Pam
        Poole...it was found by Sandy, Taken to Debbi Tant and then to me.
        I hate to use these words BUT this is illegal.
        I gingerly talked toNikki and she has made this a high priority to getthis practice
        stopped. Again as time moves forward I have quite concern over referrals thatare
        not obtained properly in which I wish to discuss with you andgive youexamples
        I have come upon and those given to me by my team.
        Thanks Deb




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Email correspondence of Deb Olexy January 08,2013.

       111.    Ms. Poole was also apparently signing admission forms. In addition, one

marketing person who went to facilities in Durham, North Carolina for referrals

(administered out of the Raleigh, North Carolina Heartland office) was using forms,

which she had copied to create initial admissions to home health care. Ginny Fowler had
them filled out as stating "PT for weakness" presumably standing for physical therapy

repeatedly.

       112.    When Plaintiff-Relator Olexy raised the issue with Deb Arendale, the

Regional Vice President told Ms. Olexy to pick her battles. While it may be acceptable
in some instances to fill out forms ahead of time, this stack of forms also appeared to be

signed by the doctor ahead oftime with the same diagnosis on each, precluding an actual
review by the doctor.

       113.    The diagnosis itselfdidnotjustify admission to home health care.

       114.    The regulations regarding certifying an admission for home health care do
allow for a face-to-face document to be certified by a doctor when a non-physician

performs such an encounter.

       115.    However, the regulations clearly require a medical professional to conduct

the encounter as a condition of payment:

        ... The face-to-face encounter must be performed by the certifying physician
       himself or herself, by a nurse practitioner, a clinical nurse specialist (as those
       terms are defined in section 1861(aa)(5) of the Act) who is working in
       collaboration with the physician in accordance with State law, a certified nurse
       midwife (as defmed in section 1861(gg) of the Act) as authorized by State law, a
       physician assistant (as defined in section 1861(aa)(5) of the Act) under the
       supervision ofthephysician, or, for patients admitted to home health immediately
       after an acute or post-acute stay, the physician who cared for the patient in an
        acute or post-acute facility and who has privileges at the facility.


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42 C.F.R. 424.22(a)(v).

         116.   Ms. Olexy was concerned that the fact that the documents were simply

copied with a signature already on them indicated that no face-to-face examination of any

kind took place.

         117.   She was worried that marketing staff was attempting to have doctors

certify to an examination that did not take place.

         118.   Full certification of an admission for home health care requires a plan of

care for whicha doctor is responsible, as well as the face-to-face encounter.

         119.   This puts the physician in the position of having responsibility for the

ongoing care ofthe patient.

         120.   Therefore, most physicians will not lightly sign such documentation.

Heartland was having difficulty obtaining the required signatures for such admission and

retention of patients.

         121.   As a resuh of Deb Olexy's protests. Heartland's Carole Holzhauercame to

the Raleigh, North Carolina office and provided compliance training. It was appropriate

training and an appropriate response, but ultimately had no lasting effect on marketing

staff.


         122.   The incentives for the marketing staff to admit patients simply

overwhelmed appropriate practice.

         123.   Thereafter, Plamtiff-Relator Olexy also filed a statement with Heartland

Corporate Compliance on February 25,2013.

         124.   Her statement included complaining that Dr. Marsh, the Medical Director

of Hospice care, had been signing Fomi(s) 485 to certify admission for Home Care.


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           125.   Plaintiff-Relator Olexy pointed out that this was not appropriate, because

attending physicians are supposed to sign such documentation. Dr. Marshwas serving as

the Hospice Medical Director and in that position, he could not be responsible for the

required plan of care and for following the patient admitted to home health care.

           126.   Dr. Marsh did not treat patients in home health care and therefore could

not legitimately sign a home healthcare plan of care for admission. Having him sign such

documents created falsified admissions.

           127.   Plaintiff-Relator Olexy refused to sign invoices on this basis. She also

insisted that a physician sign required face-to-face documentation and that led to many

such forms not being signed at all since Heartland could not obtain appropriate signatures

on face-to-face forms.

           128.   Ms. Olexy learned that Heartland did in fact retract some, but not nearly

all, of the admissions, which were conducted by having Dr. Marsh sign the initial

certification.


           129.   Ms. Olexy's information is that Heartland returned some $240,000 of

wrongful charges reflecting a three-month period of care. Heartland apparently dealt with

some sub-set of the cases in which Dr. Marsh signed the initial certification to admit a

patient.

           130.   Heartland did not refund all such cases nor did they return cases regarding

the falsified face-to-face documents. Dr. Marsh himself resigned.

           131.   Plaintiff-Relator Olexy's experience was that the practice of wrongfully

admitting people to home health care was so pervasive that in effect a return of such few




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claims constitutes an extended cover-up of what Heartland was doing. Heartland had and

knew it had many more wrongfiilclaims in the Raleigh office.

        132.    Some of the failure to document did cost Heartland financially. In home

health care it is possible to bill for 60% of the service upon admission, but to bill the

remaining 40% after an appropriate face-to-face documentation.

        133.    Heartland faced difficulties with obtaining these signatures and had to

return some of the money they had wrongfully obtained through Dr. Marsh's signature on

admittance forms.


B. Defendants ''Up coding" of home health care cases to increase charges.

        134.    The allegations contained in the paragraphs above are hereby re-alleged

and set forth fiilly as above.

        135.    In addition to the wrongful admissions to home health care and the

wrongful retention on home health care, Plaintiff-Relator Olexy found that there was

significant pressure on employees to "up code" charges billed for the care provided.

        136.    There was pressure to changethe clinicians codingof care so as to be sure

to bill more to insurance including government programs such as Medicare and

Medicaid.


        137.    Heartland provided no formal training for such coding. The Director of

Patient Care Nursing in Raleigh, North Carolina had to do all the coding based on the

information provided in the file by the clinician.

        138.    Then she would have a call with a corporate officer to go over the codes

used to bill insurance including government programs. Carole Holzhauer, Corporate




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Clinical Director for Heartland, was generally the person who called into the Raleigh,

North Carolina office.


        139.   During this regular call the corporate officer would attempt to discuss the

file on each patient without reviewing the file itself and convince the director of nursing

to change the billto a more favorable code or sequence in orderto increase the charges to

insurers.


        140.   The sequence of the treatment was often changed resulting in up coding of

charges. Every effort wasmade to convince the Patient Director of Care to raise the code

level of complexity in order to charge more for the case. These changes were made

without any contact to the clinician who administered the careto confirm if indeed such a

change was appropriate.

        141.   Every week somebody from Heartland's corporate office would review

what the staff was putting down and reviewing the sequence of diagnosis. Then they

would attempt to persuade theRaleigh, North Carolina staffto up code the bill.

        142.   Plaintiff-Relator Olexy had to handle this call for her Director of Nursing

on a couple of occasions and refused to change any such coding. However, the pressure

to up code all charges never abated.

        143.   In the end, Heartland abandoned providing home health care through its

Raleigh, North Carolina Office.

        144.   The Relators have case files providing evidence of more than 20 examples

of patients receiving home health care substantiated through the use of faulty face-to-face

encounter documents.




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          145.   The cases involve documents signed by business employees who were not

medical staff at the direction of Heartland employees including but not limited to Jermy

Fowler.


          146.   These documents were either signed on behalf of a physician signed or the

physician signed the document in blank prior to any information being entered on the

form.


          147.   No actual "face-to-face" examination was conducted and therefore each of

these admissions for home health care is fraudulent pursuant to a false document, which

can not substantiate medical necessity for home health care.

          148.   In addition, the Plaintiff-Relators discovered "face-to-face" encounter

documents completed by HCR Manor Care employees who were not physicians or agents

ofthe physicians. While the physician signed the document no physician had conducted a
face-to-face as required, but merely signed a document prepared by Pam Poole of

Heartland. Again the home health care was provided based upon fraud.

4. Nationwide efforts to admit patients and charge for patients who did not qualify

          149.   The allegations contained in the paragraphs above are hereby re-alleged

and set forth fully as above.

          150.   The Plaintiff-Relators have reason to believe many of the practices

described above extend to virtually all Heartland offices. This evidence goes beyond their

direct experience implicating Richmond and Newport News, Virginia and, Raleigh North
Carolina, facilities.

          151.   In each of these facilities the Relators experienced wrongful admission

and retention of hospice patients. In Raleigh, North Carolina there were falsified



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admission documents and wrongful admissions of home health care patients. The

pressure to up code charges in Raleigh came from corporate offices. The bonus system

paid to administrators to admit cases was also a corporate structure.

       152.    The Plaintiff-Relators' combined complaints about such practices brought

them into contact with corporate officials of Heartland and HCR ManorCare. While the

corporate offices did reactwith some compliance training, the practices complained about

continued. Furthermore, contact with other officials in the HCR ManorCare group

confirmed additional sites pursued these practices.

       153.    For example, Plaintiflf-Relator Olexy had a phone discussion with a

colleague who was the administrator at a Heartland hospice site in Miami, Florida. That

administrator said that the Heartland people just wanted people to scribble anything to

justify admittance.

        154.   Susan Keitt, the Regional Director of Operations, told Plaintiff-Relator

Olexy while she complained about Dr. Marsh's signing admission to home health care,

that the Ohio home health care program also had the Hospice Director signing initial

certifications to admit a patient for home health care. Plaintiff-Relator Olexy replied that

Ohio was not in compliance either.

        155.   When     Plaintiff-Relator Olexy       first   complained about    wrongful

documentation of form 485 and face-to-face documents she got in trouble with corporate

officials. In fact. Deb Arendale told her that she was making too much out of things

during a meeting with five or six other administrators at the Toledo, Ohio HCR Manor

Care corporate headquarters.




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     VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT, THE NORTH
                       CAROLINA FALSE CLAIMS ACT AND
               THE VIRGINIA FRAUD AGAINST THE TAXPAER ACT

                                         COUNT I


          Violations of 31 U.S.C §§ 3729 (a)(1)(A) for submitting or causing
                   the submission of false claims to the United States.

        156.    The allegations contained in the paragraphs above are hereby re-alleged

and set forth fully as above.

       157.     This is a claim for treble damages and civil penalties under the Federal

False Claims Act, 31 U.S.C. § 3729(a)(1)(A).

        158.    As set forth above, Defendants knowingly presented, and or caused to be

presented, fraudulent claims for payment or approval to the United States Government

through actions in violation of law and CMS regulations.

        159.    These illegal practices include, but are not limited to charging for hospice

care which was not medically necessary, charging for home health care which was not

medically necessary, falsifying admissions for hospice and home health care, obtaining

referrals for hospice care in exchange for providing kickbacks in the form of free labor,

and extending and re-admitting patients for services when those services were not

medically necessary.

        160.    To the best of the Plaintiff-Relators' knowledge, with the specific

exception of the Raleigh, North Carolina Home Health Care admissions for Heartland

(that service having been closed), all the practices described herein to defraud health care

programs by the Defendants are ongoing and continuing.

        161.    As a result of Defendants continuing fraudulent and or illegal conduct the

United States has directly or indirectly paid numerous false claims.


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       162.    Damages to the United States are ongoing and include, but are not limited

to, the full amount it has paid as a result of Defendants' false claims and fraudulent
conduct as well as additional costs for durable medical equipment and treatment related

to wrongful admissions.

       163.    Defendants are liable for three times the full amount of the damages to the

United States in an amount to be determined at trial.

       164.    Each and every such false claim is also subject to a Civil Fine of between

Five Thousand Five Hundred and Eleven Thousand Dollars ($5,500 and $11,000) plus

any increase as specified under the Federal Civil Penalties Adjustment Act of 1990 for
each violation of 31 U.S.C. § 3729.

        165.   Defendants are also liable for attorney's fees and expenses pursuant to 31

U.S.C. § 3730(d).

                                         COUNT II

           Violations of 31 U.S.C § 3729(a)(1)(B) for using false records or
                                statements to get claims paid.

        166.   The allegations contained in the paragraphs above are hereby re-alleged
and set forth fully as above.

        167.   This is a claim for treble damages and civil penalties under the Federal

False Claims Act, 31 U.S.C. § 3729(a)(1)(B).

        168.   As set forth above. Defendants made, and or caused to be made, false

statements and submitted, and or caused to be submitted, false records to obtainpayment

through federal government healthcare programs including but not limited to Medicare,
Tricare and Medicaid.




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       169.    Those false statements and records were material to the federal

government's decision to paymoney to the Defendants.

       170.    Each and every false statement on a face-to-face admission form or

admission form for hospice care was a material false statement made to obtain

government funding.

       171.    To the best of the Plaintiff-Relators' knowledge these practices by

Defendants are ongoing and continuing.

       172.    As a result of Defendants continuing fraudulent and or illegal conduct, the

United States has directly or indirectly paidnumerous false claims.

       173.    Damages to the United States are continuing and ongoing and include the
full amount it has paid on any such false claims.

       174.    Defendants are liable to the United States for three times the full amount

of those damages.

       175.    Each and every such false statement is also subject to a civil fine of
between Five Thousand Five Hundred and Eleven Thousand Dollars ($5,500 and

$11,000) plus any increase as specified imder the Federal Civil Penalties Adjustment Act
of 1990.

        176.   Defendants are also liable for attorney's fees and expenses pursuant to 31.

U.S.C. § 3730(d).


                                       COUNTm

  Violations of the North Carolina False Claims Act N.C. Gen. Stat. §§1-605 et seq.

        177.   The allegations contained in the paragraphs above are hereby re-alleged

and set forth fully as above.




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       178.   This is an action for treble damages and civil fines under the North

Carolina False Claims ActN.C. Gen. Stat. §§1-605 et seq.

       179.   As set forth above. Defendants created false claims in violation of the

North CarolinaFalse ClaimsAct N.C. Gen. Stat. §l-607(a)(l) by knowingly charging for

hospice care which was not medically necessary, charging for home health care which
was not medically necessary, falsifying admissions for hospice and home health care,
obtaining referrals for hospice care in exchange for providing kickbacks in the form of
free labor, extendmg and re-admitting patients for services when those services were not

medically necessary.

       180.    Inpursuing these false claims the Defendants also necessarily created false
records and statements in violation ofN.C. Gen. Stat. §1-607(a)(2).

       181.    Damages to the State of North Carolina include the full amount of any
such fraudulent claims it has paid as a result of Defendants' false claims and fraudulent
conduct as well as additional costs for durable medical equipment and treatment related

to wrongful admissions.

       182.    Any such violations of the North Carolina False Claims Act subject
Defendants to three times the full amount of damages sustained by the State of North

Carolina in an amount to be determined at trial. Defendants are also liable for civil fines

for each and every violation of the Act.

       183.    Defendants are also liable for attorney's fees and expenses pursuant to

N.C. Gen. Stat. § 1-610(d).




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                                        COUNT IV

               Violations of the Virginia Fraud Against Taxpayers Act
                           VA. Code Ann. §§8.01-216.1 etseq.

       184.    This is an action for treble damages and civil fines under the Virginia

Fraud Against Taxpayers Act VA. Code Ann. §§8.01-216.1 et seq.

       185.    As set forth above. Defendants presented or caused to be presented false

claims in violation of Virginia Fraud Against Taxpayers Act VA. Code Ann. § 8.01-
216.3.A.1 through illegal actions including, but not but not limited to, knowingly
charging for hospice care which was not medically necessary, charging for home health
care which was not medically necessary, falsifying admissions for hospice and home
health care, obtaining referrals for hospice care in exchange for providing kickbacks in
the form of fi*ee labor, extending and re-admitting patients for services when those
services were not medically necessary.

       186.    In furtherance of their fraudulent actions the defendants also necessarily

made and used false records and statements in violation of VA. Code Ann. §8.01-

216.3.A.2.


       187.    Damages to the Commonwealth of Virginia include the full amounts paid
on any such fraudulent claims as well as any additional damages such as charges for
durable medical equipment related to wrongful admissions.

       188.    Any such violations of the Virginia Fraud Against Taxpayers Act and are
subject Defendants to three times the full amount of damages sustained by the
Commonwealth of Virginia in an amoimt to be determined at trial. Defendants are also
liable for civil fines for each and every violation of the Act.




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       189.      Defendants are also liable for attorney's fees and expenses pursuant to

VA. Code Ann. §§8.01-216.7.


                                 PRAYER FOR RELIEF

WHEREFORE, Plaintiff-Relators, on behalf of themselves, the United States, and all
States listed herein request that judgment be entered intheir favor and against Defendants
as follows:


       (a) That Defendants cease and desist from violating 31 U.S.C. §3729, et seq., and
              the counterpart provisions ofthe North Carolina False Claims Act N.C. Gen.
              Stat. §§1-605 et seq., and the Virginia Fraud Against Taxpayers Act VA.
              Code Ann. §§8.01-216.1 et seq. as setforth above;

       (b) That this Court enter judgment against Defendants in an amount equal to three
              times the amount of damages the United States, North Carolina and Virginia
              has sustained because of Defendants' actions, plus a civil penalty of not less

              than $5,000 and not more than $11,000 plus any increase as specified under
              the Federal Civil Penalties Adjustment Act of 1990 for each violation of 31

              U.S.C. § 3729; plus the appropriate amount to North Carolina and Virginia for
              damages and civil fines as determined under the North Carolina False Claims
              Act and the Virginia Fraud AgainstTaxpayers Act;

        (c) That Plaintiff-Relators be aw^arded an amount that the Court decides is
              reasonable, which shall not be less than 15% nor more than 30% of the
              proceeds or settlement ofany related administrative, criminal, orcivil actions,
              including the monetary value of any equitable relief, fines, restitution, or




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       disgorgement to the United States, North Carolma, Virginia and/or third
       parties;

    (d) That Plaintiff-Relators begranted a trial by jury;

    (e) That Plaintiff-Relators, the United States, North Carolina, and Virginia be
        awarded pre-judgment interest;

    (f) That the Plaintiff-Relators be awarded all costs of this action, including
        attorneys' fees and costs pursuant to 31 U.S.C. §§ 3730(d) and;
     (g) The United States, the State of North Carolina, the Commonwealth of
        Virginia and the Plaintiff-Relators recover such other and further relief as the
        Court deems just and proper.

                           JURY TRIAL DEMANDED

                                           Respectfully submitted,


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